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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION


JANICE PAIGE,                      :

         Plaintiff,                :

vs.                                :       CA 05-0098-C

JO ANNE B. BARNHART, :
Commissioner of Social Security,
                                   :
         Defendant.

                      MEMORANDUM OPINION AND ORDER

         Plaintiff brings this action pursuant to 42 U.S.C. §§ 405(g) and

1383(c)(3), seeking judicial review of a final decision of the Commissioner of

Social Security denying her claim for disability insurance         benefits   and

supplemental security income. The parties have consented to the exercise of

jurisdiction by the Magistrate Judge, pursuant to 28 U.S.C. 636(c), for all

proceedings in this Court. (See Doc. 18 (“In accordance with the provisions of

28 U.S.C. 636(c) and Fed.R.Civ.P. 73, the parties in this case consent to have

a United States Magistrate Judge conduct any and all proceedings in this case .

. . and order the entry of a final judgment, and conduct all post-judgment

proceedings.”)) Upon consideration of the      administrative   record, plaintiff's

proposed report and recommendation, the Commissioner's proposed report and
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        recommendation, and the parties' arguments at the November15, 2005 hearing

        before the Court, it is determined that the Commissioner's decision denying

        plaintiff benefits should be reversed and remanded for further proceedings not

        inconsistent with this decision.1

                Plaintiff alleges disability due        to bilateral carpal tunnel syndrome,

        fibromyalgia, and depression.       The Administrative Law Judge (ALJ) made the

        following relevant findings:

                1.      The claimant’s period of adjudication has extended from
                July 8, 2002, the alleged disability onset date, through the date of
                this decision. For the period of adjudication, an unfavorable
                decision is being issued at Step 5 of the sequential evaluation
                process.

                2.     The claimant has satisfied the threshold requirement of
                insured status within the relevant period of adjudication (Exhibit
                3D).

                3.     The claimant did not engage in substantial gainful activity
                for Step 1 decisional purposes during the period of adjudication.

                4.      The claimant had the following “severe” medically-
                determinable impairment[s] during the period of adjudication:
                history of carpal tunnel syndrome; fibromyalgia vs. minimal
                osteoarthritic changes.

                5.       The claimant alleged headaches and depression as “severe”


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                Any appeal taken from this memorandum opinion and order and judgment shall be
made to the Eleventh Circuit Court of Appeals. (See Doc. 18 (“An appeal from a judgment entered by
a Magistrate Judge shall be taken directly to the United States Court of Appeals for this judicial circuit
in the same manner as an appeal from any other judgment of this district court.”))

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   conditions, but the same have not [been] established as entailing
   significant work-related limitations of record resulting from
   medically-determinable impairments for a continuous period of
   12 months during the period of adjudication.

   6.      No single medically-determinable impairment, or
   combination thereof, had the specific or equivalent severity of
   medical findings necessary to establish presumptive disability
   under the evaluative standards found in Appendix 1 of the
   Regulations during the period of adjudication.

   7.      The claimant’s testimony of subjective complaints and
   functional limitations, where inconsistent with the residual
   functional capacity of this decision, was not supported by the
   evidence as a whole in the disabling degree alleged and therefore
   lacked credibility.

   8.      During the period of adjudication, the claimant retained
   the residual functional capacity for a wide range of light exertion,
   with the standing/walking limits and non-exertional
   postural/environmental restrictions as set forth in Exhibit 14F,
   pp. 4-5. This work capacity was not prohibited or significantly
   altered by continuous 12-month periods of impairment
   exacerbation during the period of adjudication.

   9.     To the extent that alcohol     or substance abuse/addiction, if
   any, was a part of the claimant’s     medical history pertaining to the
   period of adjudication, the effects   of such were not considered in
   the determination of residual         functional capacity (20 CFR
   404.1535 and 416.935).

   10.    During the period of adjudication, the claimant presumably
   was unable to perform any category of her past relevant work.

   11.     The claimant was a “younger” individual during the period
   of adjudication.

   12.     The claimant had a “high school” level of education during
   the period of adjudication.

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        13.     During the period of adjudication, the transferability of
        past acquired work skills under the Medical-Vocational
        Guidelines was immaterial to the outcome of this case (compare
        Rules 202.20, 202.21, and 202.22).

        14.     Considering the claimant’s vocational factors and residual
        functional capacity, vocational rules 202.20, 202.21, and 202.22
        of the Medical-Vocational Guidelines (Appendix 2) provided a
        framework for decision making within the period of adjudication.
        Within that framework, it is concluded that the claimant was able
        to perform representative occupations existing in significant
        numbers in the national economy during the period of
        adjudication, as illustrated by the testimony of an impartial
        vocational expert.

        15.    The claimant was not under a “disability,” as defined in the
        Social Security Act, at any time through the date of this decision.


(Tr. 39-40) The Appeals Council affirmed the ALJ's decision (Tr. 6-8) and thus,

the hearing decision became the final decision of the Commissioner of Social

Security.

                                  DISCUSSION

        In all Social Security cases, the claimant bears the burden of proving that

she is unable to perform her previous work. Jones v. Bowen, 810 F.2d 1001

(11th Cir. 1986).    In evaluating whether the claimant has met this burden, the

examiner must consider the following four factors:     (1) objective medical facts

and clinical findings; (2) diagnoses of examining physicians; (3) evidence of

pain; and (4) the claimant's age, education and work history. Id. at 1005. Once


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the claimant meets this burden, as here, it becomes the Commissioner's burden

to prove that the claimant is capable, given her age, education and work history,

of engaging in another kind of substantial gainful employment which exists in

the national economy. Sryock v. Heckler, 764 F.2d 834, 836 (11th Cir. 1985).

         The task for the Magistrate Judge is to determine whether the

Commissioner's decision to deny claimant benefits, on the basis that she can

perform a wide range of light work, is supported by substantial evidence.

Substantial evidence is defined as more than a scintilla and means such relevant

evidence as a reasonable mind might accept as adequate to support a conclusion.

Richardson v. Perales, 402 U.S. 389, 91 S.Ct. 1420, 28 L.Ed.2d 842 (1971).

"In determining whether substantial evidence exists, we must view the record as

a whole, taking into account evidence favorable as well as unfavorable to the

[Commissioner's] decision." Chester v. Bowen, 792 F.2d 129, 131 (11th Cir.

1986).

         In this case, the plaintiff contends that the ALJ made the following

errors: (1) he improperly rejected the treating physician’s opinion; (2) he erred

in finding her testimony not credible on the basis that there was no medical

evidence to substantiate her complaints; (3) he erred in giving more weight to

a one-time examining physician; (4) he substituted his own medical opinion for

those of the physicians; and (5) he failed to follow the proper procedure for

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        evaluating a mental impairment. Because the ALJ erred to reversal in failing to

        follow the proper procedure for evaluating plaintiff’s mental impairment of

        depression, this Court need not substantively address the other issues raised by

        plaintiff.2 See Pendley v. Heckler, 767 F.2d 1561, 1563 (11th Cir. 1985)

        (“Because the ‘misuse of the expert’s testimony alone warrants reversal,’ we do

        not consider the appellant’s other claims.”).

                Earlier this year, the Eleventh Circuit joined four of her sister circuits

        in holding that “where a claimant has presented a colorable claim of mental

        impairment, the social security regulations require the ALJ to complete a PRTF,

        append it to the decision, or incorporate its mode of analysis into his findings

        and conclusions[]” and the “[f]ailure to do so requires remand.” Moore v.

        Barnhart, 405 F.3d 1208, 1214 (11th Cir. 2005) (citations omitted). The



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                  The Court notes parenthetically that it agrees with plaintiff’s argument that the ALJ
effectively substituted his opinion for those of all examining physicians in determining that Paige has a
history of carpal tunnel syndrome (Tr. 39), the evidence of record establishing a clear diagnosis of
bilateral carpal tunnel syndrome (Tr. 179 & 186), and that she has “fibromyalgia vs. minimal
osteoarthritic changes” (Tr. 39), the medical evidence of record establishing that she suffers from both
fibromyalgia and osteoarthritis (see, e.g., Tr. 146 & 149). On remand, the ALJ must acknowledge that
plaintiff, based upon the diagnoses of the medical professionals in this case, at least experiences
limitations related to the following severe impairments: bilateral carpal tunnel syndrome, fibromyalgia,
and osteoarthritis. See Marbury v. Sullivan, 957 F.2d 837, 840-841 (11th Cir. 1992) (Johnson,
Senior Circuit Judge, concurring specially) (“An ALJ may, of course, engage in whatever idle
speculations regarding the legitimacy of the claims that come before him in his private or personal
capacity; however, as a hearing officer he may not arbitrarily substitute his own hunch or intuition for
the diagnosis of a medical professional.”).

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Commissioner’s regulations specifically provide that the PRTF or functional

analysis contained therein must be done before an ALJ makes the determination

about whether a mental impairment is severe or not severe. 20 C.F.R. §

404.1520a(d)(1) & (2) (2005) (“After we rate the degree of functional

limitation resulting from your impairment(s), we will determine the severity of

your mental impairment(s). (1) If we rate the degree of your limitation in the

first three functional areas [activities of daily living; social functioning; and

concentration, persistence, or pace] as ‘none’ or ‘mild’ and ‘none’ in the fourth

area [episodes of decompensation], we will generally conclude that your

impairment(s) is not severe, unless the evidence otherwise indicates that there

is more than a minimal limitation in your ability to do basic work activities . .

. . (2) If your mental impairment(s) is severe, we will then determine if it meets

or is equivalent in severity to a listed mental disorder.”).

        In this case, nowhere does the ALJ perform the functional analysis of

plaintiff’s depression that is required by the Commissioner’s own regulations

and Moore, supra, because had he done so he would necessarily have to contend

with plaintiff’s allegations of her inability to concentrate (Tr. 262). While

defendant makes much of the fact that the ALJ devoted a long paragraph to

plaintiff’s depression before finding same to be a non-severe impairment (see

Tr. 30), this does nothing to advance her argument that this Court should affirm

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the denial of benefits in light of Moore’s unequivocal holding that an ALJ’s

failure to incorporate into his findings and conclusions the mode of analysis

contained on the PTRF requires remand. That remand is appropriate in this case

is heightened by the undisputed recognition that depression is a common

symptom of fibromyalgia. Lang v. Long-Term Disability Plan of Sponsor

Applied Remote Technology, Inc., 125 F.3d 794, 796 (9th Cir. 1997)

(“Fibromyalgia is a type of muscular or soft-tissue rheumatism that affects

principally muscles and their attachment to bones, but which is also commonly

accompanied by fatigue, sleep disturbances, lack of concentration, changes in

mood or thinking, anxiety and depression. . . . The depression and anxiety

associated with fibromyalgia are believed to be symptoms of this muscular

disease, rather than causes of it.”); see also Estok v. Apfel, 152 F.3d 636, 637-

638 (7th Cir. 1998) (“At some point in time, Estok started to experience diffuse

pain throughout her body, including pain in her hips, back, neck, arms, and hands,

along with headaches, sleep disturbance, and depression. These problems were

manifestations of fibromyalgia which may have been a new condition.”); see

Dorsey v. Provident Life & Acc. Ins. Co., 167 F.Supp.2d 846, 855 (E.D. Pa.

2001) (“Dr. Beecher’s cursory report did not discuss the significance of

plaintiff’s irritable bowel syndrome, migraine headaches, and major depression-

-all symptoms that support a diagnosis of fibromyalgia.”). If nothing else, the

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        fact that depression, and migraine headaches for that matter,3 are symptoms of

        fibromyalgia necessitate that the ALJ, on remand, include such impairments and

        associated limitations in hypothetical questions posed to a vocational expert.

        Accordingly, this case is remanded to the Commissioner of Social Security for

        further proceedings not inconsistent with this decision.

                                            CONCLUSION

                The Court ORDERS that the decision of the Commissioner of Social

        Security    denying claimant benefits be reversed and remanded pursuant to

        sentence four of § 405(g), see Melkonyan v. Sullivan, 501 U.S. 89, 111 S.Ct.



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                  It is interesting to the Court that the ALJ concluded that plaintiff’s migraine headaches
are not a severe impairment particularly when the wealth of information of record related to this
impairment (see, e.g., Tr. 182, 206 & 216) is compared to the minimal threshold showing required,
McDaniel v. Bowen, 800 F.2d 1026, 1031 (11th Cir. 1986) (“Step two is a threshold inquiry. It
allows only claims based on the most trivial impairments to be rejected.”). The ALJ’s finding, with
respect to both plaintiff’s migraines and her depression, that the evidence of record does not establish
“such severity as to preclude basic work-related activities for a period of 12 consecutive months” (Tr.
30) loses much of its force when one considers that these impairments are symptoms of plaintiff’s
fibromyalgia. Moreover, the regulations do not require, for purposes of determining that an impairment
is severe, that the impairment has lasted for a continuous period of twelve months but only that the
impairment can be expected to last for a period of twelve consecutive months. Compare 20 C.F.R. §
404.1520(a)(4)(ii) (2005) (“At the second step, we consider the medical severity of your
impairment(s). If you do not have a severe medically determinable physical or mental impairment that
meets the duration requirement in § 404.1509 . . . we will find that you are not disabled.”) with 20
C.F.R. § 404.1509 (“Unless your impairment is expected to result in death, it must have lasted or must
be expected to last for a continuous period of at least 12 months. We call this the duration
requirement.”) (emphasis supplied). Since Paige’s fibromyalgia has admittedly lasted for twelve
continuous months, the Court would suggest to the Commissioner that her depression and migraine
headaches have lasted or could be expected to last for twelve continuous months.

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2157, 115 L.Ed.2d 78 (1991), for further proceedings not inconsistent with this

decision.   The remand pursuant to sentence four of § 405(g) makes the plaintiff

a prevailing party for purposes of the Equal Access to Justice Act, 28 U.S.C. §

2412, Shalala v. Schaefer, 509 U.S. 292, 113 S.Ct. 2625, 125 L.Ed.2d 239

(1993), and terminates this Court’s jurisdiction over this matter.

        DONE and ORDERED this the 18th day of November, 2005.

                               s/WILLIAM E. CASSADY
                              UNITED STATES MAGISTRATE JUDGE




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